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10                             IN THE UNITED STATES DISTRICT COURT

11                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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13   UNITED STATES et al. ex rel. VICKI L.               Case No. 2:13-CV-1004 TLN AC
     MILLER et al.,
14
                            Plaintiffs,                  STATE OF CALIFORNIA’S NOTICE
15                                                       OF CONSENT TO DISMISSAL
                     v.
16
     COMMUNITY RECOVERY
17   RESOURCES INC., et al.,

18                          Defendants.

19

20           Relators have indicated to the State of California (“State”) that they intend to file a Notice

21   of Voluntary Dismissal of the Complaint. Pursuant to Cal. Gov. Code section 12652, subsection

22   (c)(1), the State hereby consents to the dismissal of this action, so long as it is without prejudice

23   to the State.

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                                          State of California’s Notice of Consent to Dismissal (2:13-cv-1004 TLN AC)
     Case 2:13-cv-01004-TLN-AC Document 95 Filed 10/10/19 Page 2 of 2


 1   Dated: October 10, 2019                         Respectfully submitted,
 2                                                   XAVIER BECERRA
                                                     Attorney General of California
 3

 4                                                   /s/ Jennifer S. Gregory
 5                                                   JENNIFER S. GREGORY
                                                     Deputy Attorney General
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                               State of California’s Notice of Consent to Dismissal (2:13-cv-1004 TLN AC)
